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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 OCALA DIVISION


UNITED STATES OF AMERICA

v                                                           CASE NO: 5:20-cr-40-Oc-28PRL

JOSEPH SAMUEL CATALANO
                                                                     AUSA: Michael Felicetta
                                                           Deft. Atty.: Michael Nielsen (CJA)

    JUDGE          Philip R. Lammens           DATE AND TIME                November 30, 2020
                                                                           10:33 am - 11:17 am
                                                                            11:42 am- 11:53 pm
                                                                                     55 minutes
    DEPUTY         Mari Jo Taylor              TAPE/REPORTER                         DIGITAL
    CLERK
    INTERPRETER    Not Required                PRETRIAL/PROBATION                Megan Martin

     CLERK'S MINUTES – CHANGE OF PLEA and SHOW CAUSE HEARING ON
                   VIOLATIONS OF PRETRIAL RELEASE


CHANGE OF PLEA
Defendant placed under oath.
Defendant advised of right to appear before United States Magistrate Judge to enter plea.
Defendant questioned re: consequences of guilty plea.
Court reviews factual basis.
Defendant enters a straight up plea to Count Two of the Indictment.
Court finds Defendant alert, intelligent, willingly, and intentionally entered plea of guilty.
Sentencing to be scheduled by the Honorable JOHN ANTOON, II, United States District
Judge.

REPORT AND RECOMMENDATION TO ENTER.

VIOLATION OF PRETRIAL RELEASE
Defendant arrested on a Petition for Action on Conditions of Pretrial Release (Doc. 59).

Court advises the defendant of the violations alleged in the Petition.

Government orally moves to revoke defendant’s pretrial release but is willing to discuss
potential new terms to the conditions of release that the court would be agreeable to in light
of the defendant’s potential sentencing guideline range.
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Defense Counsel addresses the court requesting an extension of time to prepare and allow
the defendant to remain on bond until the hearing.

No objection by the Government.

A hearing on the violation will be set for Friday, December 4, 2020 at 10:00am.

(recess)

Upon request by defendant counsel the hearing was reconvened.

Government orally moves to modify the defendant’s bond (as opposed to revoking it) and
the parties propose modifications.

Court grants the Government’s motion to modify the defendant’s conditions of release.

(The hearing that was set for December 4th is cancelled.)

ORDER TO ENTER



FILED IN OPEN COURT:
Consent to Proceed before Magistrate Judge
